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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 UNITED STATES OF AMERICA

 v.                                               No. 4:22-CR-00612-S

 EDWARD CONSTANTINESCU


  [PROPOSED] ORDER GRANTING DEFENDANT EDWARD CONSTANTINESCU’S
     MOTION FOR SHORT EXTENSION TO DISCLOSE EXPERT TESTIMONY

        Defendant Edward Constantinescu’s request for a brief extension of time to disclose

expert testimony is GRANTED. It is therefore, ORDERED that Constantinescu has 21 days

from the signing of this Order to disclose expert testimony.




DATED: _______________

                                             ______________________________________
                                             THE HONORABLE ANDREW HANEN
                                             UNITED STATES DISTRICT JUDGE
